               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:06 cr 43-4


UNITED STATES OF AMERICA                     )
                                             )
Vs.                                          )                  ORDER
                                             )
KIMBERLY DAWN PALMER.                        )
______________________________________       )


        THIS MATTER is before the undersigned pursuant to a Motion to

Withdraw (#167) filed by Defendant’s attorney, Albert M. Messer. At the call of

the motion on for hearing, Mr. Messer advised that he wished to withdraw the

motion and he would continue to represent the Defendant in this matter.

                                    ORDER

        IT IS, THEREFORE, ORDERED that the Motion to Withdraw (#167) is

hereby DENIED.



                                         Signed: July 2, 2014




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